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SIGNED THIS 3rd day of May, 2019


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF VIRGINIA
                                           Lynchburg Division

          IN RE:
                                                       Case No. 17-61810-RBC
          JOANNE DAWSON SCOTT                          Chapter 13
          FKA JOANNE DAWSON

               Debtor

          SPECIALIZED LOAN SERVICING LLC
          8742 Lucent Blvd.
          Suite 300
          Highlands Ranch, CO 80129                    Motion No.

               Movant
          v.

          JOANNE DAWSON SCOTT
          FKA Joanne Dawson
          616 Ripplebrook Drive
          Culpeper, VA 22701

               Respondents


                              CONSENT ORDER MODIFYING AUTOMATIC STAY

                 Upon consideration of the Movant's Motion Seeking Relief from the Automatic Stay,
         the parties having reached an agreement, and good cause having been shown, it is by the
         United States Bankruptcy Court for the Western District of Virginia

                 ORDERED that the Automatic Stay be, and it is hereby, modified pursuant to 11
         U.S.C. Sections 362(d), to permit Movant to commence foreclosure proceeding against the
         real property and improvements with a legal description of “The land referred to in this
         Commitment is described as follows: All that certain tract or parcel of land, with all
         improvements thereon and all appurtenances thereunto, lying and being in East Fairfax

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     Magisterial District in the Town and County of Culpeper County, Virginia, and more
     particularly described as Lot 56, Section I, of Southridge Subdivision as shown on plat of
     Greenhome & O'Mara, Inc. dated May 3, 1988, and recorded in the Clerk's Office of the
     Circuit Court of Culpeper County, Virginia in Plat Cabinet 1 at Slides 200 and 201; together
     with an easement right of way for ingress and egress to Associates Drive Cromwell Court,
     Middle Ridge Drive, and the "existing ingress and egress easement" as shown on said plat.
     AND BEING the same property conveyed to Joanne Scott by Deed dated November 4, 2003
     and recorded as Instrument Number 030013742 among the aforesaid land records”, also
     known as 616 Ripplebrook Drive, Culpeper, VA 22701 and to allow the successful purchaser
     to obtain possession of same; and be it further

            ORDERED that the above Order be and it is hereby, stayed provided that:

             1. The Chapter 13 Trustee shall make a payment to the Movant of $993.68
     said payment represents the regular mortgage payment by June 1st, 2019 and
     continue thereafter to make regular monthly payments as they become due pursuant
     to the terms of the Promissory Note secured by the Deed of Trust on the above
     referenced property; and per the proposed Amended Plan the ongoing regular
     Payments will be made by Trustee beginning June 1st, 2019; and

             2. Within Fourteen days the Debtor will file an Amended Chapter 13 Plan to include
     the post-petition arrears of $6,883.90 which is comprised of 6 payments for 12/01/2018 -
     05/01/2019 at $993.68, Attorney Fees and Costs of $1,031.00 and less a suspense balance
     of ($109.18). Movant shall file an amended proof of claim to include the arrears; and
                  The parties hereby agree, and the Court hereby Orders that, the amount of
     Post-petition arrears are determined to be $6,883.90 for the time period of 12/01/2018 -
     05/01/2019. If this post-petition arrearage is provided for in a confirmed plan: (i) this
     determination of its amount shall be considered sufficient for the Trustee to pay this amount
     without the need for the Movant to file a supplemental or new claim; (ii) the Trustee shall
     make payments on this post-petition claim to the same address on the Movant’s already filed
     claim, and (iii) if a supplemental or new claim for post-petition arrears is filed by the Movant
     with a different amount or address than that set forth above, it shall supersede this
     information and the Trustee shall adjust payments on this claim accordingly, with rights
     reserved to all parties to object for good cause shown.

            3. All payments to the Movant should be made to:

             Specialized Loan Servicing LLC
             P.O. Box 636007
             Littleton, Colorado 80163

                     In the event that the Debtor fails to make plan payments in accordance with
            the confirmed plan which results in the Chapter 13 Trustee being unable to make the
            ongoing monthly mortgage payments and/or the mortgage arrearage payments, then
            in such event Movant may give written notice to the Court, Counsel for the Debtor,
            the Debtor, and Trustee of the failure to receive such payment with said written
            notices to be limited to three (3) separate occasions. Should a fourth (4th) default
            occur, Movant may submit a Certificate of Default along with a draft Order terminating
            the automatic stay endorsed by the Chapter 13 Trustee, and the Court may grant
            relief from the automatic stay without further notice to the debtor.


                    If the Debtor fails to object in writing within fifteen (15) days of the date such
            notice is sent and to request a hearing thereon, or should a fourth (4th) default occur,
            Movant may submit a Certificate of Default along with a draft Order terminating the

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            automatic stay endorsed by the Chapter 13 Trustee, and the Court may grant relief
            from the automatic stay without further notice to the debtor. Upon entry of an Order
            granting relief from the automatic stay, (a) Movant is entitled to avail itself of its
            contractual remedies, (b) the Trustee will cease making any payments on the
            Movant’s secured claim which were required by the plan, and (c) Movant must file an
            amended unsecured claim within 180 days for any deficiency, accompanied by an
            accounting/breakdown for which the claim is filed, or such claim against the
            Bankruptcy estate shall be forever barred upon discharge of the Debtor in this
            Bankruptcy case.

            ORDERED that the fourteen (14) day stay of Rule 4001(a)(3) be, and it is hereby,
     waived and the terms of this Order are immediately enforceable; and be it further

             ORDERED that the Automatic Stay of 11 U.S.C. Section 362 be, and it hereby, shall
     not be reimposed as to the Debtor's interest, by the conversion of this case to a case under
     any other chapter of the Bankruptcy Code.



                                       ***END OF ORDER***


     AGREED AND CONSENTED TO:

       /s/ Mark D. Meyer, Esq.
       Mark D. Meyer, Esq.
       Attorney for Movant


       /s/ John Paul Goetz ___
      John Paul Goetz
      Attorney for Debtor


      SEEN:

      /s/_Herbert L. Beskin _
      Herbert L. Beskin
      Trustee

                  cc:
                  Mark D. Meyer, Esquire
                  Rosenberg & Associates, LLC
                  4340 East West Highway
                  Suite 600
                  Bethesda, MD 20814


                  Herbert L. Beskin
                  Trustee
                  P.O. Box 2103
                  Charlottesville, VA 22902




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                 John Paul Goetz, Esquire
                 John Goetz Law, PLC
                 86 W. Shirley Avenue
                 Warrenton, VA 20186

                 Joanne Dawson Scott
                 FKA Joanne Dawson
                 616 Ripplebrook Drive
                 Culpeper, VA 22701




                     CERTIFICATE OF ENDORSEMENT BY ALL PARTIES

             I HEREBY CERTIFY that on April 26, 2019, a copy of the foregoing Order was
      reviewed and endorsed by all necessary parties.


                                                           /s/ Mark D. Meyer, Esq.
                                                             Mark D. Meyer, Esq.




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